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 7
                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9

10         LINDA SHORT, et al.,                           CASE NO. C19-0318JLR

11                              Plaintiffs,               ORDER SETTING CLASS
                  v.                                      CERTIFICATION BRIEFING
12                                                        SCHEDULE
           HYUNDAI MOTOR AMERICA,
13
           INC., et al.,
14
                                Defendants.
15
           Before the court is the parties’ joint submission regarding a class certification
16
     briefing schedule. (JSR (Dkt. # 86).) Having considered the submission, the court
17
     ADOPTS the parties’ proposed class certification briefing schedule with one alteration
18
     and ORDERS that briefing on class certification shall proceed as follows:
19
                       Date                                  Event
20           November 9, 2020           Answer to complaint
             April 22, 2021             Disclosure of Plaintiffs’ class certification
21                                      expert reports
             June 17, 2021              Disclosure of Defendants’ class certification
22                                      expert reports


     ORDER - 1
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 1              July 29, 2021              Close of discovery on class certification
                August 30, 20211           Class certification motion
 2              October 7, 2021            Response to class certification motion
                November 4, 2021           Reply to response to class certification motion
 3
     (See JSR at 2.)
 4
            The court will set further case schedule deadlines pursuant to Federal Rule of Civil
 5
     Procedure 16(b) after ruling on the motion for class certification. Counsel for Plaintiff(s)
 6
     shall inform the court immediately should Plaintiff(s) at any time decide not to seek class
 7
     certification. The dates set in this scheduling order are firm dates that can be changed
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     only by order of the court, not by agreement of the parties. The court will alter these
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     dates only upon good cause shown. The failure to complete discovery within the time
10
     allowed will not ordinarily constitute good cause. As required by LCR 37(a), all
11
     discovery matters are to be resolved by agreement if possible. In addition, pursuant to
12
     Federal Rule of Civil Procedure 16, the Court “direct[s] that before moving for an order
13
     relating to discovery, the movant must request a conference with the court” by notifying
14
     Ashleigh Drecktrah at (206) 370-8520. See Fed. R. Civ. P. 16(b)(3)(B)(v).
15
            Dated this 4th day of November, 2020.
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18                                                        A
                                                          JAMES L. ROBART
19
                                                          United States District Judge
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21          1
               The parties proposed Sunday, August 29, 2021, as the deadline to file the motion for
     class certification. (JSR at 2.) The court sets the deadline for this motion to filed on Monday,
22   August 30, 2021. See LCR 6(a).


     ORDER - 2
